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131 lla}' Street, Suite 31]'|]. r1"¢:11'1::1|'11o. l|i:ll'tta.rio h-'[:i.l I`I"d

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Defendants_
C'D INT FDR ‘¢t TIUN EIF T T[EE EI . ACT DF l'i`l st

P|aintif`i`, ny his undersigned attorneys. 1'or this complaint against defendants alleges
open personal knowledge with respect to himse1l`. and upon information and belief based upon.
inter siler1 the investigation of counsel as to all other allegations herein._ as follows:

TI_TRE HF TH EIN

ll T}tis action stems from a proposed transaction announced on Mai'eh '.-'1 2111’.-' {tl'te
*'Froposed Transaetion“}l. pursuant to wl'ticlt 'l`erral"-orirl lf]loi:la|_ lnc. [“TetTaFomr“ or the
""`E`ontpanj.t""} will he aequired ny Urion l_iS Heldings l L.F. {“Parent"l and its who[lj!.r owned
suhsidiar}.t, BRE ELBL Hold'tngs |ne. [“Mergcr Sn|e""]l, which were formed ny afli|inles of
Elroolti'leld Asset Ma_nagement lite [“BAM.“ and together with Parent and Merge-r Sub.
"Hrooltfield"`].

l tln March t“s. 1011 TerraFonn`s Board of ljireelors [rl'ic ""anrd"* or "Individua]
[]ei`endants“`} caused rlte L`onipan;.r to enter into an agreement and plan of merger [the ""h{crger
ngreentent“] with l|Ilrien. Pnrstiant to ll'te terms ot` the l'slerger is"tgreentent1 each share of
Tcrra.Fortn"a mass sit eolrtn'ton stock W't]i he converted into the right to receive 55-11] in ensh.
Fnrther. as contemplated by the Merger nigreernent and pursuant to a settleth agreement
entered into between 'l'erra.Form E]o|:ta[ and SunE.dison, |ne- {""SnnEdison"",l, immediately prior
to the merger, SnnEdison will exchange all ot`ils Class B units of thc Cotnpan;i"s subsidiary

TerraFom't i'_iloha|. IiLC, into 259-li of the [Iontpany`e outstanding t'_`|aas slt shares on a llttll`t.t

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diluted basis.

fl. tila Lletoher lil, 2111?_. defendants filed a pretty statement idle “Proay Statement"'}
with the linited States Eecurities and Eschange Commission {`“SEE"“'_`] in connection with the
Propes'ed Trttnsael.ien.

4. '[he Prosy Etatcment omits material information with respect to the l’roposed
Transaction, which renders the Prosy Statcment false and misleading aecordingly, plaintiff
alleges herein that defendants 1s'iolated Seetions latajl and initial of the Eieeurities Eschange s'tct
ot` l 934 [the “l'li'tE-=l itset"} in connection with the Prorty Statcment_

URIBDICTIDN VENUE

5- This Court has jurisdiction oyer the claims asserted herein pursuant to Seetion .'£'i
of the 1934 ."'tel because the elaints asserted herein arise under Eections l-l[a`jl and El]'[a} of the
1934 _-"tet and Rule lsla-isl.

ti. This l|f'ourt has jurisdiction over defendants because each defendant is either a
corporation that conducts business in and maintains operations within this Distriet, or is an
individual with sufficient minimum contacts with this [l'istriet so as to make the esereise ol`
jurisdiction by this Court permissible tmder traditional notions affair play and substantialjustice.

l'. 1'».-'cnue is proper under 23 ll-l's-tf. -_tl 13's`tli_‘b1 because a substantial portion of the
transactions and wrongs complained of herein occurred in this District.

E¢E'['IES

E. Plaintil`f is, and has been continuously throughout all times relevant hcreto, the
earlier of Terrali`ot'tn common steele

'B‘. Defendant TerraFonn is a Delaware corporation and maintains its principal

cseeucit'e offices at 1'5511 Wisconsin avenue 9"` Floor1 llcthcsds. htsryland tusla. Tcnnann‘s

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common stock is traded on the Nasdat] 'l]S under the ticket symbol "(i|.B L."

ltl. Defeedant Pcter E.|acltrnore [“Elaci:more"‘} is a director. Chairrnan of thc Board__
and Interini Chief |~'.secutiye tjl'fficer {“Ebjtl"} el"ferraForm.

11. Dcfertdant Fred lloylc t""`Boyle""} is a director of Tenal~'onn.

12. Defendant Eltristopher l|.'_`ompton [“Compton"`} is a director ofTerraForm.

ll Dct'enetant l-lanif l','.'ahya {"“Daltya""ft is a director of Terra.bonn-

ld_ l_lefendant Marlt l_.erclal [“Lerdal"`,l is a director oi"l'erraForm.

l5. Dcl`endanl Dt'rrid J. l‘t-'Iaclt t'“h-'Iaclt“}l is a director ofTet'raFoI't‘rt.

It'i- Defendant Alat‘l l_l-. l's'![iller i_"'l't-*liller""} is a director of Terra.'t"`ot“tn.

|'i'. Dcfcndant laclt hitarlt {"‘Starlt"_l is a director of TcrraFonn.

tll- Defendant [lavid ltinghol'er [“Ringhofer"} is a director of TerraForm.

l"i'. Del‘erttlant Eregory hical|en {"Scallen“_l is a director of TerraForm.

Etjl'. The defendants identiticd in paragraphs 111l lthough l'-.l are collectively referred to
herein as tlte “lndit"idnal Defendattl_il.“

..'-ll. Defendants Bi"thtl is erganieetl under the laws ofCanada and it beneficially owns
Pateett and h-'lerger Eub.

ll Dcfendant Farent is a ilelaware limited partnershipl an al`liliatc of Bnhs and a
party to thc Mcrger agreement

13. Defendant Merger Sub is a Delaware corporation a whollysowned subsidiary of
Parent, and a party to the hierger .a.greement.

I[`.‘I . LEGAT[HN
24. Plaintift` brings this action as a class action on behalf of himself and the other

public stockholders of Terra|~`ortn lthe “Class“_l. Esciuded from the lE|ass are defendants herein

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and any pcrsen. flnn, tmst, corporation, or other entity misled to or affiliated with any defendantl

25. Ti'tia action is properly maintainable as a class aetion.

EE. Tl'te mass is so numerous that joinder of` all members is impracticable. its ol`
.luly ill. 201'.", there were lili"li'i.l.ll§o shares ot`Ciass r'ls Terra.Fonn common stocltL outstanding
and bitd‘=l'.i.ii|'§*l shares of Class i:'l `l`erra|"orm common steele outstanding held by hundreds il`not
thousands oflndivittuals and entities scattered throughout the counn'y-

21 Questions of law and fact are common to the Class. including u.t'nong others {i}
whether detemlants violated die lois ace and tii`,t whether defendants will irreparany harm
plaintiff and the other members of the lI.'f`.lass if defendants1 conduct complained of herein
continues

Ed. Pla'tntii`l` is eommilted to prosectning this action and has retained competent
counsel experienced in litigation ot'this nature. Flaintiff`s claims are typical cf the claims of the
other members ol` the lElass and plaintiff has the same interests as thc other members of the
C]ass. ftceerding]y, plainlill` is an adequate representative of the tjiass and will fairly and
adequame protect thc interests ofthe Class.

E'E|'- The prosecution of separate actions by individual members of the ii.'lass could
create thc rislt of inconsistent or varying adjudications that would establish incompatible
standards of conduct for defendants or adjudications that would, as a practical mattcr. bc
dispositive of lite interests of individual members of lite t'flass who arc not parties to the
adjudications or would substantially impair er impede those non-patty L`la.ss members' ability to
protect their interests

311 Defcndants have acted. or refused to act. on grounds generally applicable to the

Elass as a who]e, and arc causing injury to the entire Class- `I'heret`orc. final injunctive relief on

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behalf ofthe ll:lass is appropriater
SUBETANTIVE ALL `
Ertt'ftpt'strtrtd o_,t" tire t`f.`rt.ttrpetr_p

31. TerraFonn and its subsidiaries is a globally diversified renewable energy
company that owns long-term contracted solar and wind power plants `['he Eompany’s business
objective is to ovm and operate a portfolio of renewable energy power plants and to pay cash
dividends to irs stockholders 'I'he t,`ompany has acriuircd a portfolio of long-term contracted
clean power plants trent parties that have proven technologies ercditworthy counterparties_ low
operating risks and stable cash flows TerraForrn"s portfolio consists ofsclar and wind power
plants located in Bra.zil. Cl'tina, indial iv'lalaysia. Seuth africa. ll`l'tailtl.rtd and i_lruguay with an
aggregate net capacity of 'ill'si'.il ]le as ol`i'vlay E'tl. Iil lT.

il Tbc Ectnpany was fortned as a [Jelaware corporation under the name sun}'idisorr
|:`merging lvtat'ltets Etowth and 1't"iclds Inc. on September 12._, Ellll-l as it wholly owned indirect
subsidiary of hunEdison. The name of thc Eompany was subsequently changed to Terrat_'ortn
1`i.iloba]. Inc. on s"tprll l. lll-l i_ Following its initial public offering on i-'tttgusr 5, 201 51 'l'erral-'orm
became a holding company and its sole asset is a aa-d‘lt equity interest itt TerraFonn titcbal_.
[,LC l["{'rloba] LLC”]\ as of isiay 31__ Etll't_ Terral-`onn is the managing member of Glohal 1,|.1’,1T
and operates controls and consolidates tl're business affairs of ti]lobal LL['.

il tiunEdison beneficially owns all of Terral~`orm’s outstanding lElass E common
atock. each share cf which entitles sunlidiscn to lt`to votes on all matters presented to thc
Company’s stockholders sits a result of its ownership of TerraFomt`s llilla.t'et H esmmon stock,
iiunlidison ptissesscs approximately anita of the combined voting power of Ten'aForm's

stockholders even though launEdison only owns approximately ill'-tl'°sa of the ll;ompany's total

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Class r'lt and H shares outstanding

34. tila april El, EI.lllft1 bunl_".disort and certain ol' its domestic and international
subsidiaries voluntarily filed for protection under Chapter ll of the ll_l"s_ El.anknrptey [Zode lthe
“Sun.Edison Battltruplcy"`_l- ln anticipation of aru;l in response to EunEdison's financial and
operating difficulties which culminated in the dunlidison Eanltruptcy. at the direction of the
li-oard, the Compmy undertook a mmtber of strategic initiatives to attempt to mitigate thc
adverse impacts ofthe dunEdison Eanltruptcy on the Company.

ii. Elather than continue the Cornpany as a standalonc business honcvcr. thc anrd
determined to sell lite Company in the l~'roposed `l`ransaction to liurtltidison’s prcl'erTod biddcr.
Erooltfield.
rita P'rt.l.t_'_r .Et'tr.t'eme rrt‘ Umrits t'ld'utlerr`al' frt_,t`ormrrrfon, lien darring .ft' frittl'.t'e and i'lrffsl'.ea‘r£t’rt_g-

iti_ l'let`cndants liled the Proxy Statement with the EE{` in connection with thc
Proposed `l'ransaetiort. sits set forth below._ the Prexy Statement omits material information with
respect to the Proposed 'l'ransaction.

31 'l`lte l"’t‘oxy Etutctttettt omits material information regarding the lEompany"s
financial projections and the valuation analyses performed by the Eontpany`s financial advisers
in connection with the ll'roposed 'l`ransaction1 t'_`entervietv F'nrtners l,l,tf.l {“Ccrrtervictv"'_`] and
llii't"cerlttlch l»'.iia.pital shdv'isors Eocurilics_ LI_.C l“Erecntcch”`l_

'.iE. r*tltl'tough ll'rc f"rexy Statcment discloses certain of tlte ll.'_`,ompany""s financial
projections it fails to disclose certain of thc projections that ll:cntervie't=s' and {ireentech actually
used in its valuation artalyses to support its opinion that the merger consideration is fair to the
Eompany`s stockholders. `[hc disclosure of` projected financial information is material because il_

provides stockholders with a basis to project the future financial performance of a eempany, and

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allows stockholders to heuer understand the financial analyses performed by t_hc company"s
financial advisor in support ofits fairness opinion_

39. .\itecordingl to the Proxy $tatr.*t‘t'lrertt1 in performing its Eliscountcd Casl't Flevrr
rl'toaly'sis1 1i.i'crtlvcrvicw used lhc ll:ompany's forecasted fttlly-tarted unlevered free cash flows for
the Corrtpattty for the years EE|l'i through EEIEd. estimated forward Etl-Ed EHITD.+L forecasted net
operating loss canyfcrwards and forecasted debt repayment ccsts. The defendants however,
failed to disclose any of these projections in the li'roxj.r fltaternent.

411 Ccttlervicw also performed a discetmted cash flow analysis and a dividend
discount analysis of the fompatty assuming a runnel`f of the existing asset pnrtfo|io, with no
development or acquisition growth1 which used the Eompany"'s forecasted fully-lasted unleverod
free cash flows for the Contpany for the years li`ilir through ?.i.l"l-j and the cstirrtated dividend
streams from the Eompa.ny for the years 2[|'| 'l' through I'El-'-l.i, respectively. The Proxy Statementl
host-even falls to disclose any ofthe Company`s L‘run-ot`t'ctrse" projections

dl. ln performing its analyses l»'.i't"cct'tlech evaluated at the request of the Eomp»any’s
board of directors tl]r a scenario in which tl're Cempa:ny remains a publicly traded company that
is expected to produce a predictable cash flow but with no further asset growth ithc ""`t'un-ofl'
yieldco scertario“_`l. and ill a scenario in which thc Cempmy becomes a stand-alone independent
power producer i"lPP"'l and acquires additional projects over thc next lt] years |fthc ""stand-alene
lt'l'l scenario"l1 in each casc, based on the projections provided by the ltj'ompany`s management
Likc Ccntervicw‘a analyses Erecntech"s discounted cash flow and dividend discount analyses of
the Comparry in each of the run-off yieldco scenario and stand-alone |PF scenario used the

lt,'orrrtpa'rty‘s projections of free cash llows to the linn antl dividend per share ut'Class a common.

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respectively1 but the l'rosy Etatemcnt fails to disclose any of the Cornpany’s projections used by
llf`ireeritec|i itt its analysesl

al ll`i'tc P'roxy Staternent also fails to disclose material information relating to
Centerview's and lt_:"reentecl'i`s 1valuation analyses which the E.oard reviewed and relied upon in
approving the FIopoE-ed Tra.'rtsactiott- 1'tlt"hett a hankeris endorsement of the fairness of a
transaction is totaled to shareholders the valuation methods used to arrive at that opinion as l.t.a:ll
as thc key inputs and range of ultimate values generated by those analyses must also be fairly
disclosed.

43. 1'tli-iith respect to Centerview"s Eiiscoanted Cash Fiotv Ana]ysis. the Froxy
Etateroent fails to diseiose.' l.‘_i`,'l tl'te forecasted fully-taxed tuilevered free cash flows for the
Compa.ny for the years IIJ'I i' through 2[|'15; {ii} Centerview's basis for selecting enterprise value
to EEITDA exit multiples of E_Sx to 'l'_$x',” {iii]- the C`ot'ltpalty’s estimated forward EE|TDA as of
Decen'ther 3|. 1'|]26, '[iv`,|' the forecasted net operating loss catr_\,"forwards for the Conipany; [v}
tltc forecasted debt repayment costs; {vi`,|l the inputs and assumptions underlying the discount rate
range of li‘-'i§‘i"'i: to ill-? E‘i'it selected by Centerview in its analysis; and l[vii] the perpetuity glcwtlt
rate range implied by Ccntervie'tv's analysis

lt-\t_ 1I.lt'irlt respect to llientervietl."s Heiected t_'.'ornparab]e Eornpany dinalysis. the Proxy
Eitalernent fails to disclose the individual multiples and financial metrics for each of the
companies observed by Centerview in its analysis

45- 1iii-'ith respect to Centervicw`s run-off ease Discounted Cash Flotv f-'snalysis. the
l~'ro:~:y iitatet'oet'll fails to disclosc: [i]l the forecasted fully-taxed anlevercd free cash flows for Lbe

ll:ornptany for tl'l.c years 2'|]1? through E.|Zl-'-l$', {ii`jl the forecasted net operating loss canyforwards

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for the ll-'iiol‘rlt?tatt.'y; {iii}l the lorecasted debt repayth coslsj. and tfiv]t thc inputs and assumptions
underlying the discount rate range of Ei_?je'-'tr to ]t]_Ej",'-'ii selected by Certterview in its analysis

-'-i'ft. 1lil-"iti'r respect to l|Eenterview’s nut-off ease Dividend Disoount Anal ysis the Proxy
i'itatet'rlcot fails to disclose: {i`,'l estimated dividend streams from the lEompany for the years lull
through ?.ll-'-i-§', and {ii}l lite inputs and assumptions tmdcrlying the discount rate range of liflfi'l-ir
to id.t]o'id selected by Eenterviev.' in its analysis

41 With respect to t]recnleelt's Run-I'Jff "r’ieldCo .."'ieenario Cott'rparabie ll';'ot‘n|:tt`rnies
Artaiysis. the Ptoxy Statcmcnt lails to disclose the individual multiples and financial metrics for
each of the companies observed by t`:ireentech in its analysis

"-ill. Wilit respect to ll`rt"cet'tteclt's Rl.ln-'l'.`l'ff 1'r"ielt.l:l;'o Ecenario Discounted Cash Flow
.-i'r.nalyses. the Proxy Statcmcnl fails to disclose: t_'i]' tlte run-offyieldco scenario projections I`or
calendar years EIll 'l through lil-\ltl as provided by the ll;`ompa.'rty's management iii} the projected
tree cash flow to the linn in both the asset useful lii'e ease and tire contracted life cases and tiii]r
die inputs and assumptions underlying the discount rate range ol` lit.=i'i»'ii to loses selected by
titeenrech in its analyscs.

49. 1li~"itlt respect to tiireenteelt`s litun~i_iff 1't'ielr:ltIo Eccnsrio [i|'ividcnd `l'_'liscount iv'[odei
--'-"tt'lal].-'sis1 Tl‘le Proxy Statement fails to disclose: tit the projected dividend per share of Class dr
common stock itt hotlt the asset useful life case and the contracted life case_j and t“_ii} the inputs
and assumptions underlying the discount rate range of ] 13th to india selected by t_':ireemech in
its analysis.

Eii. ir"v'ith respect to t'_ireentech's Stand-.-'tlone lPP Scenario 'l.`.`otnparal:tle Corrrpanies
analysis the l’“roxy iitatet'.ltettl falls to disclose the individual multiples and financial mcli'ics for

each ofthe companies observed by tireentech in its analysis

l'|]

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51- 1't`t"'ill'l respect to t'_ircentech's Stand-:'tlone lPP Scenario Discounted (Tas]'i l-`lo~rv
Hl'talyais.. t.l'te Pt'o?ty fitatcrttet'lt fails to disclose: fit the stand-alone IPP scenario projections of the
tjompany's tree cash flotal to die linn from calendar year Idi'.-' through calendar year EDEEc tiii
tl'te ll§`ot‘npany's estimated calendar year EEIEIS EBI'i`D.-a.', tiii]- the inputs and assumptions
underlying the discount rate range of S_si% to ll_$‘.l-'ii selected l'ry firecnteeli irl its analysis and {iv',l
the perpetuity gros-slt rate range implied by Erecntech`s analysis.

ill With respect to L"rreenteclt’s eitand-Ftlone lPF' Ecenario I.`tividend Disoount lvfodci
F'rnalysis. the Froxy Etatement fails to disclose: t[ii estimated dividend per share in calendar year
lillti in the stand-alone IPP seenatio; t[ii`,t the inputs and assumptions underlying the discount rate
range of lE.E‘l-"u to lti-?”l'lt selected by lEreentecb in its analysis and I[iii}l the terminal exit
multiples range implied by tireentecir‘s analysisl

53. The Pt'o:sy Statement also fails to disclose whether t.',}enterview or Greentech
petfontted a precedent transactions analysis and if so1 the Fro:\-:y Statement must disclose a fair
summary of that attaiysis- lt` neither t.Tentetvieal nor tireeotech performed such an analysis tire
Proxy Statcmetrl must disclose the reason the financial advisors failed to do so.

54. The omission of ll'tis material infon'nation renders the Proxy Statenient false and
misleading. inciuding. inter alin, the following sections ofthe Froxy E-_itatentent'. ti'_t "t;tpinions of
the '|.'_lornpany`s Firrancial ilrdvisors;“ and [ii_l "'Certain Company Foreeasts."

55_ `l`he Froxy Elaten'rent omits material information relating to potential conflicts of
interest of l|:entervie'tv. Full disclosure of investment banker compensation and ali potential
conflicts is required due to the central role played l'.ty investment banks in the evaluation,

exploration selectiun, and implementation of strategic alternatives

il

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liti. bipecilically, the l"roxy filalcmcnt states lh.at, l"[iln connection with Ccnterview‘s
services as the financial advisor tc the bcanl cf directors and the conflicts committed the
t.`ompany has agreed to pay Eenterview an aggregate fee ol` $ltl.'|] ntil|iorl__ a portion ot` which
was payable upon the rendering of ltierttervie'w`s opinion and a significant portion of which is
payable contingent upon consummation ot` tire merger.“ The Proxy Starcment must disclose the
amount of compensation that is contingent upon consummation of the Propcsed Ttansaction.
'l`his infbnrtation is necessary to allow the Eompany"s stockholders to assess for themselves
chester ltl'entcrview was incentiviaed tc ensure that the Prcpcsed `I'ransaction was consummated
by issuing a favorable f.'aimess opinion.

5'.1'. The omission of this material inf`cnnation rcrnlers the Proxy Statcment false and
misleading including. inter alia the following sections ofthe Proxy Etatement: iii “Etaclcground
ofthe h-lcrger;" and I[ii} “'ti}pinions ofthe Eornpany`s financial dds-isors."

5a The Prcxy fitatement omits material information regarding potential conflicts cf
irrterast ct` the Ccrnpany’s officers and directorsl

5'-1 The Prosy Statemcnt states that, "[o]n nugust 4, El'll'i. following the signing of
the merger agreement, the t,`cmpany made annual director grants of Compuny RELls- - - to each
of lylessrs. Blaclunore, Iloylc. Compton, f_'lahya, Lerdsl. hdaclt._ lv|iller and Starlt." f-'ut‘ther. in
connection witlt the Proposed Transaction, the flompany and l‘arent agreed tc grant Tettal~'orrn‘s
Senicr 1'v'ice President. tj'teneral t',`cunse|. and decretary, 1't*ana ftravtscva._, a retention award which
provides for a cash payment in art amount equal to Siitlll,fltlft. The Froxy Statentcnt. however.
fails tc disclose any iaf`cnrraticn relating tc the timing and nance cf discussions regarding these
lt..‘itf and retention payments including who proposed the payments and who participated in such

conversations

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dill. The omission of` this material information renders the Proxy Statement false and
misleading ir`tcludirlg1 inter alis the following sections oftl'te Froxy Statement'. tit ‘“Baclr.ground
of the l'vlerger;"" and tii]t “]nterests of tf'ertain Persons in tltc Mergcr."

o ll 'I'he Proxy E.taternent omits material information regarding the background oftlte
Froposed Transaction. The Company's stockholders are entitled to an accurate description of lite
process the directors used in coming to their decision tc support tire Proposed `l`ransacticn.

51 The Proxy Statcment indicales that the Eompany entered into “more than li]"'
non-disclosure agreements I{“l~ll]llrs"]- with parties that were potentially interested in a transaction
with thc Ccmpany. The f‘mxy statement bcacver, fails tc disclose the terms cf those
confidentiality agreements including whether they contain a standstill and"or 1"don't assn dort`t
waive" provision that are or were preventing those counterparties li'om submitting superior offers
to acquire the Cornpany.

oll. The omission of this material information renders the *'Elacltground of the
i't-'lerger11 section ofthe Proxy Statement false and I‘rtislea'dingll

'|54- Tlte above-referenced omitted information, if disclosed 1~"n.tuld significantly alter
the total mix of information available tc the Ecmpany`s stockholders

M

Clair:u for 'l-’ltrlallort of Scctiatt 1-”l{a] of the 1934 diet and ll'.ule lda-'ll I’rcntttlgatcd
Thereunder against the Individaa.l ]]lafcnclants and TerraForm

di f’laintiff repeats and realleges the preceding allegations as if fully set forth herein.
ti-E_ The Individual llefcndants disseminated the false and misleading lJroxy
Etatement. which comaincd statements rhat, in violation ot` Eection ldfa} ol` the 1934 net and
llule l=la-'El', in light ofthe circumstances under which they were made, omitted to state material

facts necessary to malte the statements therein not materially false or misleading 'f`erraj~'orm is

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liable as the issuer ofthese statementsl

d?. Tl'rc Pro:»ry bilateetent was prcpared, rcviewed. and"or disseminated by the
individual Defendants. Hy' virtue oftheir positions within Terrel"ornt, tl'r.c lndividuai Defendants
were aware ofthis information and their duty to discer this information in the Frotty Etatert'rerrl.

od. The individual Del'eodarrts were at least negligent irr filing the Prorty statement
with these materially false and misleading statements

os`t. The omissions end false and misleading statements in the Prorty Statcment are
material in that a reasonable stockholder will consider them important in deciding how to vote on
the l-"roposed `l'ransaetien. ln additiont a reasonable investor will view a full and accurate
disclosure as significantly altering the total mirr of information made available in the l’rorry
Stalemcnt and itt other information reasonably available to stockholders

'i"l]. The Pro:~:y Staternent is an essential linlt. in causing plaintiff and the tfornpany’a
stockholders to approve ll're Proposed Transaetion_

'r‘l . l'i-y reason of the forcgoing, defendants violated fraction ]tl-[a_`] ofthe 1934 r'tct and
R.ulc ida-9 promulgated thereunder.

'i"l E-ecar.rse ofthe false and misleading statements in the Prorry Srarement, plaintiff
and the Class are threatened with irreparable han‘r'r.

EE![N.[ n

Claim for 1‘riiulltiott of Seet'irrtr Iilt[n] of the 1934 diet
Against 'tlte individual Del'ettdntrts and Bruolrfield

i'.'i- Flaintiff repeats and realleges ti'te preceding allegations as iffully set forth herein_
'i'4- T'l'te individual Defcndanls and Erooltt`ield acted as controlling persons of
TerraFonn within the meaning of Section 2ilt_a_`l of tl're 1934 act as alleged herein- iiy virtue of

t.l‘leit positions as officers and"or directors of r[`erral'-'orr'rr. and participation in and.ior awareness of

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TerraFotm's operations and-"or intimate knowledge of tl'te false statements contained in tl'te Pro‘.ey
litatement, they had the power to influence and control and did influence and control, directly or
indirectly. the decision mailing of TerraFonn. including the content and dissemination of the
various statements that plaintiff contends arc false and misleading.

T"E. Each of tl't-e individual L`lefendants and Breoltlield was provided v.'ith or had
unlimited access to copies of the Pro:ty Statement alleged by plaintiff to be misleading prior to
and-for shortly after these statements vvere issued and had the ability to prevent the issuance of the
statements or cause them to he corrected

'i'b. ln partieular, each of the lndividuai t'_tefendants had direct anti supervisory
involvement in the day-to-day operations of TcrtaForn'r__ and. therefore1 is presumed to have had
the power to control and influence the panicqu transactions giving rise to the violations as
alleged beteiIl, sItd exercised the sante- `l'lte F'torty Statemcnt contains the unanimous
recommendation ol` the lndividuai [l\efendants to approve the Froposerl Trans.action. T'l'rey were
titus directly in the mailing ofthe Protty Statcment_

l'il- Hrooltiield also had direct supervisory control over the composition ol' the Fro.vy
litat'en'rent and tl're information disclosed therein, as well as tl‘re information that was omitted
andior misrepresented in the Prorty statement.

'i'E- lilyl virtue of tl'rc foregoing._ the lndividuai l}efenr.'lants and Broolrfreld violated
Section lil[a] of the lillld ltct.

T"B'- rita set forth above. the lndividuai Dcfcrr.-dants and Erooltiield had the ability to
c:tercise control over and did control a person or persons who have each violated Section ld[a]r
of the l‘i|'.ill .-*tet and Rule lr'-la-ii, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons. these defendants are liable pursuant to Section Ell'{a} of the 1934

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f-'tct. drs a direct and prosirrtate result of defendants" conduet, plaintiff and the Elass a.rc
threatened with irreparable harrn.
csaiL,Fos_sM
lt't"'l'lERE-FURE._. piaintitl`pr'ays for judgment and retiefas lh||ows'_
a_ Prellminan`ly and permanently enjoining defendants and all persons acting in
concert with them from proceeding wllh. consumrnating. or closing the Frcposed Transaction:_
ll ll't the event defendants consummate thc Proposed Transaction. rescinding it and
settiltg`it aside or awarding rescissory damages_j
C. lllirecting the lndividuai Defcndants to disseminate a Prorty Statcment that does
not contain any untrue statements of material fact and that states all material liters required in it
or necessary to maltc the statements contained therein not misleading;
ll i_leelarlng that dclirndants violated S»ections ldlfa]l andr'or lil{a`,'l of the 1934 ritct.. as
weil as Rule lda»iil promulgated thereunder1
E. rewarding plaintiff the costs of this action, including reasonable allowance for
plaintiffs attorneys' and espcrts` fccs.'. and
F. t]rantlng such enter and further relief as this 1.'Eourt may deem_iust and propcr.
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'i]'F C'l.'.ll.i]'*iEEL:

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Brian D. Long

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.Illlt'r" I]E

Flaintiff respectfully requests a trial by jury on all issues so triable

Dated: fletcher l'i'. Ei_`ili'

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